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AO 106 (Rev. 04/10) Application for a Search Warrant


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                                      UNITED STATES DISTRlCT COURT                                           Fil ctat           q) tcP , 20/i_
                                                                      fo r the                                                    r t!:,t. L
                                                                                                                   De uty Clerk, U S. District Court
                                                          Midd le District of Georgia                                pl\: iddle Distnct of Georgia


              In the Matter of the Search of                             )
         (Briefly describe the property to be searched                   )
          or identify the person by name and address)                    )           Case No. / : /&,   /f,/j-~      t/ ( I tyl-)
          Spike Jensen's Facebook Account                                )
   (facebook.com/spike.jensen) from May 1, 2017 to                       )
                 September 7 , 2018                                      )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney fo r the government, request a search warrant and state under
penalty of perj ury that I have reason to believe that on the fo ll owing person or property (identify the person or describe the
property to be searched and give its location) :

 See Attachment A
located in the               Middle                District of _ _ _ _ _G_e_o_rg~i_a _ _ _ _ , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B


          The basis for the search under Fed. R. Crim. P. 4 1( c) is (check one or more):
                  ~ evidence of a crime;
                  ~ contraband, fruits of crime, or other items illegally possessed;
                  ~ property designed for use, intended for use, or used in committing a crime;
                  0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
              Code Section                                                           Offense Description
        Title 18, United States Code,                                            Coercion and Enticement
        Section 2422(b)

          The application is based on these facts:



           rif   Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact end ing date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                  ~      Ryan E. Genry, Special Agent, FBI
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.


Date:


City and state: _A_l_b _a n__,y'-,_G_A_ _ _ _ _ _ _ __                               Thomas Q. Langstaff, U.S . Magistrate Judg e
                                                                                                 Printed name and title
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                                      AFFIDAVIT

1. Affiant, Ryan E. Genry, is a Special Agent (SA) of the Federal Bureau of Investigation
     (FBI) with 3 months of experience. Affiant investigates violations of United States Code
     (USC), Title 18, Section 2422(b ), "Coercion and Enticement." This Affidavit is
     submitted in support of a search warrant for the Instagram, LLC (hereafter "Instagram")
     account of Spike Jensen (instagram.com/spikejensen/) from May 1, 2017 to September
     7, 2018. (Note, Facebook, Inc., acquired Instagram in 2012, but the two remain separate
     legal entities. This application for a search warrant seeks data only from Instagram.)
     During this approximate one-year period the defendant and identified minor, described
     in paragraph two below, communicated with one another via Instagram. Your Affiant
     has probable cause that this Instagram account contains evidence of the crime of
     "Coercion and Enticement." Affiant, being duly sworn, deposes and says:
2.    Jonathan M. Jensen a/k/a "JJ." or "Spike" (hereafter "Jensen") is 32-year-old male who
     lives in Springfield, Minnesota. Jensen met a 15-year-old minor female (hereafter,
     "identified minor") through numerous social media outlets.
3.    On August 25, 2018, Jensen was observed at New Life Tabernacle Church, 752 Douthit
     Road, Sylvester, Georgia speaking to the identified minor attending the church "back to
     school bash" function.
4.    On September 6, 2018, investigators interviewed Freda Hitt, the great aunt of identified
     minor. Freda Hitt stated she observed Jensen at the church function and asked identified
     minor how she (identified minor) knew Jensen. Identified minor stated that Jensen was
     17 years old and that identified minor knew Jensen from school. Freda Hitt observed a
     tan colored Ford Fusion with Minnesota License plate AYJ-873 parked next to the
     church. Jensen told Freda Hitt the vehicle was his grandfather' s and he (Jensen) was
     moving to the area in a few months. Identified minor' s younger sister told Freda Hitt that
     identified minor had met Jensen on-line. Freda Hitt informed Jensen that identified minor
     was only 15 years old and that Jensen wasn't taking identified minor anywhere.
     Approximately two hours later, Jensen asked Hitt ifhe could take identified minor to his
     motel. Hitt told Jensen absolutely not. Towards the end of the church function, identified
     minor could not find her phone, so Jensen gave her a new iPhone from his vehicle.
5.    The photos below were provided by Freda Hitt, showing Jensen and his vehicle at the
     church function.




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6.  On September 6, 2018, investigators interviewed Andrea Hitt, the aunt of identified
   minor. Andrea Hitt stated that she arrived at the church function at or about 4 p.m.
   Andrea Hitt observed Jensen and identified minor hanging out together. Andrea Hitt
   became concerned for the safety of identified minor and contacted identified minor's
   grandmother and legal guardian, Evelyn King.
7. Evelyn King told Andrea Hitt to take identified minor's cellular phone. Andrea Hitt
   took identified minor's cell phone that identified minor had left in Freda Hitt's vehicle.
8. Andrea Hitt knew the passcodes commonly used by identified minor. Andrea Hitt was
   able to unlock the phone and review the Facebook messenger conversation between
   identified minor and Jensen. Andrea Hitt told investigators Jensen had messaged
   identified minor providing updates on Jensen's trip from Minnesota to Sylvester,
   Georgia. Jensen had told identified minor that he would be at identified minor' s house
   Friday night, believed to be August 24, 2018. Jensen provided mile marker updates on
   his travels. Jensen told identified minor he would come to her home. Identified minor
   replied that she would sneak out the back door and meet Jensen. Jensen sent several
   messages in the early hours of Saturday, August 25, 2018, attempting to reach identified
   minor with messages stating "hey." Identified minor did not reply until later in the
   morning, apologizing and stating she had fallen asleep. Jensen later messaged stating he
   would meet identified minor at the church and asked what time he should arrive.



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     Identified minor later retrieved her cell phone and deleted most of her messages and
     photos to and from Jensen.
9. Andrea Hitt also informed investigators that when reviewing the Facebook messages she
     observed photos sent from identified minor to Jensen. Andrea Hitt believed the photos
     to be of identified minor. One photo was taken from the neck down exposing identified
     minor' s breast. Another photo appeared to be of identified minor in her underwear and
     tank top shirt. Andrea Hitt took the phone to Evelyn King at King' s residence. Andrea
     Hitt informed investigators that identified minor used multiple applications to chat with
     JENSEN, including Instagram.
10. On September 6, 2018, investigators interviewed Evelyn King. Evelyn King stated
     Andrea Hitt brought identified minor's phone to Evelyn King and King reviewed the
     messages between identified minor and Jensen. Evelyn King told investigators that
     Jensen sent identified minor messages updating identified minor on Jensen' s progress in
     traveling to Sylvester, Georgia. Evelyn King told investigators Jensen had told identified
     minor he would come to identified minor's house. Jensen told identified minor "I will
     be there shortly to get you" and "don't worry about clothes I will buy them for you. "
     Identified minor told Jensen she would leave her bedroom light on so Jensen would know
     what room was identified minor's. Identified minor told Jensen she would sneak out the
     back door and meet Jensen. King stated that identified minor takes medicine to help her
     sleep. Identified minor fell asleep and did not meet Jensen.
11 . Evelyn King stated she observed nude photos of identified minor that had been sent to
     Jensen on identified minor's cell phone. King described the photos showing the
     identified minor' s bare chest and "front bottom area." This refers to the genital area of
     the minor. Investigators have recovered an image from the iPhone that Jensen gave to
     the identified minor of the genital area of a minor female . Your affiant cannot state with
     certainty that this image is of identified minor. Evelyn King further stated Jensen sent
     identified minor a photo with him shirtless and focusing on his clothed groin.
12. On or about September 3, 2018, identified minor received a package in the mail from
     Jensen. The package contained clothes, a necklace, men's body spray, and a coloring
     book. Upon learning of identified minor receiving the package, Evelyn King and Freda
     Hitt reported the contact between identified minor and Jensen to the Worth County
     Sheriffs Office.
13. On September 5, 2018, GBI agents contacted Enterprise Rent-A-Car. Enterprise Rent-A-
     Car provided that on August 24, 2018, Jensen, 209 South Park Ave, Springfield,
     Minnesota, rented a 2018 tan Ford Fusion with Minnesota license plate number A YJ-873
     from Enterprise Rent-A-Car Company at the Marshall Airport in Marshall, Minnesota.
14. On September 5, 2018, investigators proceeded to the Worth Inn, 905 East Franklin
     Street, Sylvester, Georgia. The Worth Inn records show Jensen, 209 South Park Ave
     Springfield, Minnesota, rented room 130 the nights of August 24-25 , 2018. Jensen told
     the hotel clerk two individuals would be staying in room 130.


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     15. On September 5, 2018, Evelyn King provided Worth County Sheriffs Office with
         identified minor' s cellphone and iPhone that was provided to identified minor by Jensen.
         Investigators obtained search warrants for both phones through the state magistrate court.
         A review of cell phone data pursuant to the search warrant revealed an instant messaging
         conversation between identified minor and an individual believed to be Jensen. During
         the conversation, Jensen stated, "I kind of got into big trouble in Washington State ... I
         help an girl runaway but they caught me but couldn't take me back to that state they just
         took her back." Jensen further sent by a messaging app of a missing person's flyer for
         an identified minor from Arlington, Washington, to identified minor.
     16. On September 6, 2018, Worth County Sheriffs Office contacted Arlington, Washington,
         Sheriffs Office. Arlington Washington, Sheriffs Office confirmed identified missing
         minor willingly traveled with Jensen. They were traveling in a rental car to Minnesota
         when missing minor was recovered and returned to Arlington, Washington.
     17. On September 6, 2018, identified minor from Sylvester, Georgia, was interviewed by a
         certified child forensic interviewer at the Child Advocacy Center in Tifton, Georgia.
         During the interview, identified minor disclosed Jensen traveled down to Georgia to visit
         her. Identified minor admitted Jensen intended to take her to Jensen' s motel where
         identified minor believed Jensen would "rape" her. Identified minor admitted to sending
         nude photos of herself to Jensen at his request. Identified minor admitted to meeting
         Jensen on Instagram during the summer of 2017. Identified minor stated Jensen sent her
         a friend request on Instagram.
     18. On September 7, 2018, Jensen was interviewed by a FBI Special Agent at the Brown
         County Jail in New Ulm, Minnesota. Jensen admitted to meeting identified minor on
         Instagram. Jensen also admitted identified minor told Jensen she was 15 years old while
         they were communicating via Instagram.
     19. This investigation was conducted by Affiant and others, including other FBI Special
         Agents and law enforcement officers. Information presented in this affidavit is a result
         of Affiant' s investigation and of the investigation of other authorized personnel.
     20. Based on the above facts and circumstances, Affiant believes that probable cause exists
         that the Instagram account of Jensen, described with particularly herein, contains
         evidence of violation of Title 18, U.S.C., Section 2422(b), "Coercion and Enticement."


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                                             Special Agent-Federal Bureau oflnvestigation

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                                      ATTACHMENT A


                                   Property to Be Searched


       This warrant is for information associated with the Instagram account/usemame:

spikejensen, which is stored at premises owned, maintained, controlled, or operated by Instagram,

LLC headquartered in Menlo Park, California.
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                                       ATTACHMENT B


                                  Particular Things to be Seized


I.     Information to be disclosed by Instagram:


       For the period of May 1, 2017 to September 7, 2018, to the extent that the information

described in Attachment A is within the possession, custody, or control of Instagram, including

any photographs, videos, messages, records, files, logs, or information that have been deleted but

are still available to Instagram, or have been preserved pursuant to a request made under 18 U.S.C.

§ 2703(f), Instagram is required to disclose the following information to the government for each

user ID listed in Attachment A:


               (a)    All contact and personal identifying information, including the Instagram

               account spikejensen.

               (b)    All activity l_ogs for the account and all other documents showing the user's

               posts and other Instagram activities;

               (c)    All Photoprints, including all photos uploaded by that user ID and all photos

               uploaded by any user that have that user tagged in them;

               (d)    All other records of communications and messages made or received by the

               user, including all private messages, chat history, and video calling history.

               (e)    All "check ins" and other location information;

               (f)    All IP logs, including all records of the IP addresses that logged into the

               account;

               (g)    All records of the account's usage of the "follow" feature, including all

               Instagram posts and a list of Instagram users that the user has "followed".
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               (h)     The length of service (including start date), the types of service utilized by

               the user, and the means and source of any payments associated with the service

               (including any credit card or bank account number);

               (i)     All privacy settings and other account settings, including privacy settings

               for individual Instagram posts and activities, and all records showing which

               Instagram users have been blocked by the account; and

               G)    · All records pertaining to communications between Facebook and any

               person regarding the user or the user's Instagram account, including contacts with

               support services and records of actions taken.

II.    Information to be seized by the government


       All information described above in Section I that constitutes evidence, fruits, and/or

property designed for use, intended for use, or used in committing violations of Title 18, United

States Code, Section 2422(b ), that is, the coercion and enticement of a juvenile, including, for the

user ID identified on Attachment A, information pertaining to the following matters:


              (a)      Records pertaining to the sexual exploitation of children, and coercion and

              enticement of minors including, but not limited to records pertaining to sexual

              exploitation of children and coercion and enticement;

              (b)      Records relating to who created, used or communicated with Instagram

              account spikejensen, including, but not limited to, records about their identities and

              whereabouts including records of session times and durations and log-in IP

              addresses associated with session times and dates;

              (c)      Records relating to any travel of anyone who created, used, or

              communicated with the account or identifier; and
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   (d)    Records relating to any discussion of age or minor status.
